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                           UNITED STATES DISTRICT COURT
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                          SOUTHERN DISTRICT OF NEW YORK
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SECURITIES AND EXCHANGE COMMISSION,
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                                   Plaintiff,
                                                           C.A. No. 12-07261 (TPG)
                        v.

8000, INC. ET AL.,

                                   Defendants.



                    FINAL JUDGMENT AS TO DEFENDANT 8000, INC.

       WHEREAS, on September 27, 2012, Plaintiff Securities and Exchange Commission

("Commission") commenced this action by filing a Complaint against 8000, Inc. ("Defendant")

and others, and a Summons was issued to the same;

       WHEREAS, a waiver for service was filed with the Court on January 7, 2013

       WHEREAS, the Commission filed a motion to enter default against Defendant for failure

to answer or otherwise appear;

       WHEREAS, in accordance with Fed. R. Civ. P. 55(a), a Clerk's default was entered

against Defendant on November 13, 2013;

       WHEREAS, the Court accepts as true the factual allegations in the Complaint against

Defendant, who has defaulted, and that:

               1.     The court has jurisdiction over this action pursuant to Sections 20(d) and

       22(a) ofthe Securities Act of 1933 ("Securities Act") [15 U.S.C. §§77t(d) and 77v(a)]

       and Sections 21(d), 21(e), and 27 of the Securities Exchange Act of 1934 ("Exchange

       Act")[15 U.S.C. §§ 78u(d), 78u(e), and 78aa].
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               2.     The Defendant employed the means or instrumentalities of interstate

       commerce, the mails, or facilities of national securities exchanges to engage in the

       conduct alleged in the Complaint.

       WHEREAS, the Commission has applied, pursuant to Rule 55(b)(2) of the Federal Rules

of Civil Procedure, for the entry ofthis Final Judgment based on the Defendant's failure to

answer or otherwise respond to the Commission's Complaint, and the Court having considered

the prima facie case for relief shown by the Commission's Complaint and the Memorandum of

Law in Support of Plaintiff Securities and Exchange Commission's Motion for Default

Judgment, and the exhibits thereto, which showing has not been rebutted by the Defendant;

       NOW THEREFORE BASED ON THE FOREGOING

                                                 I.

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant and

Defendant's agents, servants, employees, attorneys, and all persons in active concert or

participation with them who receive actual notice of this Final Judgment by personal service or

otherwise are permanently restrained and enjoined from violating, directly or indirectly, Section

10(b) ofthe Securities Exchange Act of 1934 (the "Exchange Act") [15 U.S.C. § 78j(b)] and

Rule 10b-5 promulgated thereunder [17 C.P.R.§ 240.10b-5], by using any means or

instrumentality of interstate commerce, or of the mails, or of any facility of any national

securities exchange, in connection with the purchase or sale of any security:

        (a)    to employ any device, scheme, or artifice to defraud;




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       (b)     to make any untrue statement of a material fact or to omit to state a material fact

               necessary in order to make the statements made, in the light of the circumstances

               under which they were made, not misleading; or

       (c)     to engage in any act, practice, or course of business which operates or would

               operate as a fraud or deceit upon any person.


                                                 II.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

and Defendant's agents, servants, employees, attorneys, and all persons in active concert or

participation with them who receive actual notice of this Final Judgment by personal service or

otherwise are permanently restrained and enjoined from violating Section 17(a) ofthe Securities

Act of 1933 (the "Securities Act") [15 U.S.C. § 77q(a)] in the offer or sale of any security by the

use of any means or instruments of transportation or communication in interstate commerce or

by use of the mails, directly or indirectly:

        (a)     to employ any device, scheme, or artifice to defraud;

        (b)     to obtain money or property by means of any untrue statement of a material fact

                or any omission of a material fact necessary in order to make the statements

                made, in light of the circumstances under which they were made, not misleading;

                or

        (c)     to engage in any transaction, practice, or course of business which operates or

                would operate as a fraud or deceit upon the purchaser.




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                                                      III.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant shall pay a

civil penalty in the amount of$ ,, 5l~ oo o      to the Securities and Exchange Commission

pursuant to Section 20(d) ofthe Securities Act[15 U.S.C. § 77t(d)] and Section 21(d)(3) ofthe

Exchange Act [15 U.S.C. § 78u(d)(3). Defendant shall make this payment within 14 days after

entry of this Final Judgment.

       Defendant may transmit payment electronically to the Commission, which will provide

detailed ACH transfer/Fedwire instructions upon request. Payment may also be made directly

from a bank account via Pay.gov through the SEC website at

http://www.sec.gov/about/offices/ofm.htm. Defendant may also pay by certified check, bank

cashier's check, or United States postal money order payable to the Securities and Exchange

Commission, which shall be delivered or mailed to

       Enterprise Services Center
       Accounts Receivable Branch
       6500 South MacArthur Boulevard
       Oklahoma City, OK 73169

and shall be accompanied by a letter identifying the case title, civil action number, and name of

this Court; 8000, Inc. as a defendant in this action; and specifying that payment is made pursuant

to this Final Judgment.

       Defendant shall simultaneously transmit photocopies of evidence of payment and case

identifying information to the Commission's counsel in this action. By making this payment,

Defendant relinquishes all legal and equitable right, title, and interest in such funds and no part

of the funds shall be returned to Defendant. The Commission shall send the funds paid pursuant

to this Final Judgment to the United States Treasury. Defendant shall pay post-judgment interest


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on any delinquent amounts pursuant to 28 USC § 1961.

                                                      IV.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain

jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment.


                                                      v.
       There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules of Civil

Procedure, the Clerk is ordered to enter this Final Judgment forthwith and without further notice.


Dated)t;P",P ~ '-5                 IL{,
                                              UNITED STATES DISTRICT JUDGE




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